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   1                        UNITED STATES DISTRICT COURT

   2                       WESTERN DISTRICT OF LOUISIANA

   3                             ALEXANDRIA DIVISION

   4      UNITED STATES OF AMERICA          *          CRIMINAL ACTION
                                            *          NUMBER 06-MJ-1049
   5                                        *             merged with
                                            *          CRIMINAL ACTION
   6      vs.                               *          NUMBER 07-10030-01
                                            *
   7                                        *          November 19, 2007
                                            *          2:40 p.m.
   8      RICHARD L. McNAIR                 *          Pollock, Louisiana
                                            *
   9      * * * * * * * * * * * * * * * * * *

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  11              DETENTION HEARING AND PRELIMINARY EXAMINATION

  12      Certified transcript of proceedings before the Honorable
          James D. Kirk, United States Magistrate Judge.
  13

  14      APPEARANCES:

  15      FOR THE GOVERNMENT:        James G. Cowles, Jr.
                                     United States Attorney's Office
  16                                 300 Fannin Street, Suite 3201
                                     Shreveport, Louisiana 71101-3068
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          FOR THE DEFENDANT:         Wayne J. Blanchard
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  20
          REPORTED BY:               Myra Primeaux, RMR, CRR
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  24
          Proceedings recorded by mechanical stenography, transcript
  25      produced by computer.
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   1                 THE COURT:    For the record, I'm James D. Kirk.

   2      I'm a United States Magistrate Judge.        We're here for a

   3      probable cause and detention hearing with regard to Mr.

   4      McNair.   This is Criminal Docket Number 06-MJ-1049.

   5            Government make its appearance for the record, please.

   6                 MR. COWLES:     Yes, sir.    Jim Cowles on behalf of

   7      the United States.

   8                 THE COURT:    Mr. Blanchard.

   9                 MR. BLANCHARD:     Wayne Blanchard for Richard

  10      McNair, Your Honor.

  11                 THE COURT:    All right.     And let the record

  12      reflect Mr. McNair is there with you, and you-all may be

  13      seated.

  14            Madam Clerk, would you swear Mr. McNair to tell the

  15      truth, please?

  16            (Defendant sworn.)

  17                 THE COURT:    You can have a seat now, Mr. McNair.

  18            At this point, we have, to my knowledge, Mr. Cowles, a

  19      criminal complaint.     There's been no indictment or bill of

  20      information filed.

  21                 MR. COWLES:     Correct.    It's just on a complaint

  22      at this time.

  23                 THE COURT:    All right.     Mr. McNair, you are

  24      charged by criminal complaint with a violation of 18 U.S.C.

  25      Section 751, which is escape from confinement.
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   1            You may sit down, if you'd like.

   2            The maximum possible penalty is five years in prison,

   3      a $250,000 fine, a $100 Criminal Victim Fund assessment,

   4      one year minimum to five years maximum probation, up to

   5      three years supervised release.

   6            I advise you that your arraignment will be scheduled

   7      if and when there is an indictment or a bill of information

   8      filed against you.     You will be reminded at that time of

   9      these penalties as well.

  10            You also have a right to a preliminary examination

  11      because of the fact that no indictment or bill of

  12      information has yet been filed against you.

  13            Mr. Blanchard, it's my understanding your client

  14      wishes to waive that right.

  15                   MR. BLANCHARD:   He is going to waive the

  16      preliminary examination, that's correct, Your Honor.

  17                   THE COURT:   Is that correct, Mr. McNair?

  18                   THE DEFENDANT:   Yes, sir.

  19                   THE COURT:   All right.   That brings us, then, to

  20      the last thing which is the detention hearing.

  21                   MR. BLANCHARD:   He's also going to waive the

  22      detention hearing, Your Honor.

  23                   THE COURT:   All right.   Mr. McNair, is that also

  24      your wish?

  25                   THE DEFENDANT:   Yes, sir.
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   1                   THE COURT:    All right.   Then in that event, we

   2      will wait until such time as there's an indictment or bill

   3      of information and proceed with an arraignment at that

   4      point.

   5            Is there anything further, Mr. Cowles?

   6                   MR. COWLES:   No, sir.

   7                   THE COURT:    Mr. Blanchard?

   8                   MR. BLANCHARD:   No, Your Honor.

   9                   THE COURT:    All right.   Thank you-all.    Court is

  10      adjourned.

  11                      (End of proceedings at 2:43 p.m.)

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   1                            C E R T I F I C A T E

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   3            I, Myra Primeaux, Official Court Reporter, do hereby

   4      certify that the foregoing pages numbered 1 through 4 do

   5      constitute a true and correct record of proceedings had in

   6      said Detention Hearing and Preliminary Examination to the

   7      best of my ability and understanding.

   8            I certify that the transcript fees and format comply

   9      with those prescribed by the court and the judicial

  10      conference of the United States.

  11            Subscribed and sworn to this 8th day of March, 2009.

  12

  13                                       s/ Myra Primeaux

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